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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION


 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

      Plaintiffs,                                                CIVIL ACTION NO.
                                                             3:21-cv-00259-DCG-JES-JVB
 v.                                                                   [Lead Case]

 GREG ABBOTT, in his official capacity as
 Governor of the State of Texas, et al.,

      Defendants.




       PLAINTIFFS’ AMENDED JOINT NOTICE OF FIRST WEEK WITNESS LIST
                 AND NOTICE OF SECOND WEEK WITNESS LIST

          Plaintiffs hereby jointly file the following amended list of witnesses expected to be called

during the first week of trial pursuant to the Court’s Pretrial Scheduling Order (Dkt. 880). The

witness list specifies the sequence in which these witnesses will testify on a daily basis. The parties

reserve the right to amend or supplement this list based on the progression of trial and any rulings

by the Court.

                      May 21             Salvador Espino

                                         Candace Valenzuela

                                         Domingo Garcia

                                         Cesar Espinosa

                                         Angelica Razo

                                         Diana Martinez Alexander

                      May 22             Rogelio Saenz
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                                         Joey Cardenas

                                         Devan Allen

                                         Jeff Travillion

                      May 23             Congresswoman Jasmine Crockett

                                         Leo Pacheco

                                         Ina Minjarez

                                         Kristian Carranza

                      May 24             Dr. Andres Tijerina



         Plaintiffs further jointly file the following list of witnesses expected to be called during the

second week of trial pursuant to the Court’s Pretrial Scheduling Order (Dkt. 880). The witness list

specifies the sequence in which these witnesses will testify on a daily basis. The parties reserve

the right to amend or supplement this list based on the progression of trial and any rulings by the

Court.

                      May 27             Congressman Al Green

                                         Bishop James Dixon

                                         Richard Murray

                                         Dr. Bernard Fraga

                      May 28             Dr. J. Morgan Kousser

                                         Dr. Stephen Ansolabehere

                                         Dr. Allan Lichtman

                      May 29             Dr. Allan Lichtman, continued (if
                                         needed)




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                            Jeannette Martinez

                            Maida Guillen

                            Linda Lewis

                 May 30     Dr. Matt Barreto

                            Monica Munoz Martinez

                 May 31     Agustin Loredo

                            Dr. Moon Duchin



Date: May 20, 2025                Respectfully submitted,

                                  For LULAC Plaintiffs:

                                  /s/ Nina Perales
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                                  For Gonzales Plaintiffs:

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                                  For MALC Plaintiffs:

                                  /s/ George (Tex) Quesada
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                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that she has electronically filed a true and

correct copy of the above and foregoing via the Court’s electronic filing system on the 20th day

of May 2025.

                                                    /s/ Nina Perales
                                                    Nina Perales




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